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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION


     UNITED STATES, et al.,
                                                          No. 1:23-cv-00108-LMB-JFA
                      Plaintiffs,
              v.

     GOOGLE LLC,

                      Defendant.


                       NON-PARTY MEDIAVINE, INC.’S OBJECTION TO
                    PUBLIC USE OF HIGHLY CONFIDENTIAL INFORMATION


          Pursuant to Federal Rule of Civil Procedure 49.1 and Local Civil Rule 5, the Court’s Order

  Modifying the Pretrial Schedule entered on June 24, 2024, and the Court’s Order entered on July

  18, 2024, non-party Mediavine, Inc. (“Mediavine”) respectfully files this Non-Party Mediavine,

  Inc.’s Objection to Public Use of Highly Confidential Information (“Mediavine’s Objection”). On

  July 7, 2024 and July 19, 2024, the United States Department of Justice (the “DOJ”) and Google

  LLC (“Google”) filed their respective deposition designations and counter-designations

  (“Deposition Designations”) that they intend to use at trial. The Deposition Designations include

  portions of the deposition transcript of Eric Hochberger (the “Transcript”), who testified on

  September 22, 2023 on behalf of non-party Mediavine, pursuant to subpoenas issued by the parties

  to this action.

          For the reasons stated herein, Mediavine respectfully requests that the portions of the

  Transcript identified in Exhibit A to the Declaration of Eric Hochberger (“Exhibit A”) be




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  permanently withheld from public view.1

                                           Relevant Factual Background

           On September 22, 2023, the DOJ and Google took the deposition of Mediavine’s CEO and

  Co-Founder, Eric Hochberger, pursuant to subpoenas dated August 18, 2023. (Declaration of Eric

  Hochberger, dated July 26, 2024 (“Hochberger Decl.”) ¶ 2.) Pursuant to the Protective Order,

  Mediavine designated certain portions of Mr. Hochberger’s Transcript as “Confidential” and

  “Highly Confidential” and provided such designations to all parties. (Id. ¶ 3.) The Highly

  Confidential Information, as defined below, was designated as “Highly Confidential” under the

  Protective Order. (Id.)

           On July 5, 2024, Plaintiffs, including the DOJ, filed Plaintiffs’ Notice of Intent to Present

  Deposition Testimony (Dkt. No. 895), which designates portions of the Transcript Plaintiffs intend

  to use at trial (the “DOJ Designations”). (Hochberger Decl. ¶ 4.) On July 5, 2024, Google filed

  Defendant Google LLC’s Deposition Testimony Designations (Dkt. 893), which designates

  portions of the Transcript Google intends to use at trial (“Google’s Designations” and together with

  the DOJ Designations, the “Parties’ Designations”). (Id.) The Parties’ Designations include two

  portions of the Transcript containing core competitive information, including the number and

  identities of specific revenue sources, and certain proprietary business processes and specific tools

  it employs in combination, in the provision of its ad management services, which are extremely

  confidential and commercially sensitive, and should be withheld from public view (the “Highly

  Confidential Information”). (Id. ¶ 6.)




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   All text reflected in Exhibit A was designated for use at trial by one or both of the parties. For clarity and transparency,
  Mediavine has removed all text from the Transcript that has not been designated by any party for use at trial. Portions
  of the material not included in Exhibit A also contain highly confidential information, which Mediavine expects will
  not be made available to the public without prior notice to Mediavine and an opportunity for Mediavine to object.

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                                             Argument

         The Court may restrict public access to documents filed in connection with a dispositive

  motion or trial where “the public's right of access is outweighed by competing interests” (Adams

  v. Object Innovation, Inc., No. 3:11CV272-REP-DWD, 2011 WL 7042224, at *4 (E.D. Va. Dec.

  5, 2011), report and recommendation adopted, No. 3:11CV272, 2012 WL 135428 (E.D. Va. Jan.

  17, 2012)) – specifically where such restriction is necessary “to preserve important, higher

  interests . . . and narrowly tailored to serve that interest.” Sempowich v. Tactile Sys. Tech., Inc.,

  No. 5:18-CV-488-D, 2020 WL 2789792, at *2 (E.D.N.C. May 29, 2020). Such higher interests

  may include “compelling government interest[s]” (Doe v. Pub. Citizen, 749 F.3d 246, 266 (4th Cir.

  2014)) and/or “a party's interest in confidential commercial information.” Sempowich, 2020 WL

  2789792, at *2. Although the public generally has a First amendment right to access judicial

  records, “[t]he mere existence of a First Amendment right to access or a common law right of

  access to a particular kind of document does not entitle[ ] the press and the public to access in

  every case.” Id. (quoting Rushford v. New Yorker Mag., Inc., 846 F.2d 249, 253 (4th Cir. 1988)).

         Under established Fourth Circuit precedent, “[t]o determine whether the interests in sealing

  [ ] records outweigh First Amendment considerations,” a court must consider three factors: (1)

  whether there was “public notice of the request to seal” and whether “interested parties” were

  allowed “a reasonable opportunity to object”; (2) whether any “less drastic alternatives to sealing

  the documents” would suffice; and (3) whether there are “specific reasons and factual findings

  supporting its decision to seal.” Adams, 2011 WL 7042224, at *4 (citing Ashcraft v. Conoco, Inc.,

  218 F.3d 282, 288 (4th Cir. 2000)). As set forth below, each of these requirements has been met as

  to Mediavine’s Objection.

         First, the public notice requirement pursuant to governing law in this Circuit, Federal Rule



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  of Civil Procedure 49.1 and Local Civil Rule 5, has been satisfied. The Court’s Order of June 24,

  2024 (the “June 24 Order”) provided notice to the public that parties and non-parties would have

  the opportunity to file objections to public disclosure of documents and testimony for use at trial

  no later than July 26, 2024; it also provided notice to the public that any challenges to such

  objections may be filed no later than August 2, 2024. Mediavine’s filing of this Objection is made

  pursuant to and subject to the June 24 Order.

           Second, Mediavine respectfully submits there is no less drastic alternative than protecting

  from public disclosure the very limited portions of the Parties’ Designations that are identified in

  Exhibit A. (Hochberger Decl. ¶ 7.) Mediavine’s request to protect from public disclosure is

  narrow and discrete, as the Highly Confidential Information is limited to the amount and identities

  of specific revenue sources, and certain proprietary business processes, including the specific tools

  it employs in the provision of its ad management services, which constitute core competitive

  information. (Id. ¶ 7, 8) Mediavine also notes that it is not seeking to protect from public

  disclosure all of Mr. Hochberger’s testimony included in the Parties’ Designations, nor is it seeking

  to seal the entirety of the testimony initially designated as Confidential or Highly Confidential;2

  rather, because Mediavine is mindful of the heightened standard applied to documents and

  testimony used at trial, it solely intends to protect the few essential pieces of confidential and core

  competitive information from disclosure. Id. ¶ 7; see Adams, 2011 WL 7042224, at *4 (“Adams

  proposal to redact only the proprietary and confidential information, rather than seal the entirety

  of his declaration, constitutes the least drastic method of shielding the information at issue.”).

  Accordingly, the requested protection from public use will not deprive the public of essential


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   Mediavine has carefully reviewed the portions of the Transcript designated for use at trial, and has determined that
  certain portions of the text initially designated as Highly Confidential for purposes other than use at trial may be made
  available to the public at this stage without objection. All designations in Exhibit A have been assessed and identified
  as highly sensitive commercial information, with First Amendment considerations in mind.

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  information. (Hochberger Decl. ¶ 7.)

         Third, as to the specific reasons the Highly Confidential Information should be protected

  from disclosure, Mediavine represents that the Highly Confidential Information contains

  Mediavine’s confidential and commercially sensitive information – including: (i) non-public

  financial information on the specific identities of its sources of revenue and amounts of such

  revenue; and (ii) proprietary businesses processes including the identification of third-party tools

  Mediavine uses and business operations that, if disclosed, would cause Mediavine material and

  significant competitive and commercial harm. (Id. ¶ 8.) These categories of information are

  normally unavailable to the public, and the specific information identified as Highly Confidential

  Information in Exhibit A is not available to the public. (Id. ¶ 9.)

         With respect to the financial information, the Highly Confidential Information includes

  testimony concerning the nature of Mediavine’s revenue sources, and amounts of such revenue,

  and identifies several of those revenue sources by name – including entities that are direct

  competitors of Google. (Id. ¶ 8.) Such information, normally unavailable to Mediavine’s

  competitors or business partners, would provide an unfair advantage to those with whom

  Mediavine competes and those with whom it negotiates deals. (Id. ¶ 9, 10.) Particularly in the

  context of a suit concerning alleged anticompetitive behavior in the market at issue, Mediavine

  requests that the Court prevent public disclosure of this Highly Confidential Information, where

  its release would only increase the likelihood of anticompetitive actions taken against Mediavine.

  (Id. ¶ 10.) It should not be that, by virtue of complying with a deposition subpoena, a non-party

  to this action leaves with a weaker competitive position in relation to the market at issue than it

  had at the outset.

         Similarly, the testimony regarding Mediavine’s business processes and the platforms and



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  tools it uses is also highly confidential and commercially sensitive in Mediavine’s line of business.

  (Id. ¶ 8.) Access to this information by Mediavine’s competitors would subject Mediavine to

  significant competitive and commercial harm, and give its competitors insight into Mediavine’s

  proprietary business processes and chosen tools – selected and combined based on experience and

  expertise in their field – which asymmetrical information concerning, inter alia, Mediavine’s

  competitive strategy, would allow Mediavine’s competitors an artificial and unfair competitive

  advantage. (Id. 11.)

         Courts in this district and in the Fourth Circuit recognize a corporation’s interest in

  maintaining confidentiality of financial and other competitive business information and grant

  motions to protect from public disclosure this very type of information – particularly where the

  confidential information is that of a non-party. See, e.g., Airboss Rubber Compounding (NC), Inc.

  v. Kardoes Rubber Co., No. 1:12-CV-352, 2013 WL 12380267, at *1 (M.D.N.C. July 23, 2013)

  (permitting redaction of “sensitive non-public financial information concerning revenues” because

  the “competitive and financial interests of the parties would be harmed by public disclosure,”

  which was a “compelling reason” under the First Amendment standard); Sky Angel U.S., LLC v.

  Discovery Commc'ns, LLC, 95 F. Supp. 3d 860, 884 (D. Md. 2015), aff'd, 885 F.3d 271 (4th Cir.

  2018) (maintaining redactions and finding that the “redactions of its executives' deposition

  testimony are reasonable given that the redacted portions largely pertain to [its] relationships with

  third parties, including estimated revenue streams . . . and other commercially sensitive

  information”); Lifenet Health v. Lifecell Corp., No. 2:13CV486, 2015 WL 12517430, at *4 (E.D.

  Va. Feb. 12, 2015) (identifying the “existence of information that could harm third-parties and not

  just [a party’s] interests” as one reason for the finding that the movant’s “interest in protecting its

  and third-parties confidential commercial information [was] significant enough to outweigh the



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  First Amendment right of access.”). Accordingly, Mediavine, a non-party to this litigation,

  respectfully requests that Mediavine’s Objection be granted, and the portions of the Transcript

  identified in Exhibit A, which have been designated for use at trial by the DOJ and/or Google, be

  permanently protected from public disclosure.

                                            Conclusion

         For the reasons stated herein, Mediavine respectfully requests that the portions of the

  Transcript identified in Exhibit A, which have been designated for use at trial by the DOJ and/or

  Google, remain permanently protected from public disclosure.




  Dated: July 26, 2024                                Respectfully submitted,
                                                      MEDIAVINE, INC.

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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

      UNITED STATES, et al.,

                           Plaintiffs,

             vs.
                                                               No: 1:23-cv-00108-LMB-JFA
      GOOGLE LLC,

                           Defendant.




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of July, 2024, I filed the foregoing document and

  served all counsel of record in this action through the Court’s ECF filing system.



  Dated: July 26, 2024                                 /s/ Jennifer McLain McLemore
                                                       Jennifer McLain McLemore
